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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


LINDA PATRICK,

               Plaintiff,

v.                                                           Case No. 1:07-CV-865

HARTFORD LIFE AND ACCIDENT
INSURANCE COMPANY,                                           HON. GORDON J. QUIST

            Defendant.
___________________________________/

                                            OPINION

       Plaintiff, Linda A. Patrick, has sued Defendant, Hartford Life and Accident Insurance

Company (“Hartford”), under the Employee Retirement Income Security Act of 1974 ("ERISA"),

29 U.S.C. §§ 1001 to 1461, seeking review of Hartford’s denial of long-term disability benefits for

Patrick. Presently before the Court are both parties’ motions for entry of judgment pursuant to the

procedure set forth in Wilkins v. Baptist Healthcare Sys., Inc., 150 F.3d 609 (6th Cir. 1998), for

determining ERISA denial of benefits claims. For the reasons set forth below, the Court will grant

Patrick’s motion for entry of judgment and enter an order reversing Hartford’s denial of benefits.

                                             I. Facts

       As an employee of Siemens Dematic Corporation, Patrick was covered by a Group Long

Term Disability Plan (“Plan”) issued and administered by Hartford. (Administrative Record (“AR”)

at 629.) The Plan provides benefits for a person who becomes disabled while insured under the Plan

and remains disabled beyond the 180-day Elimination Period. (AR at 630.) A person is disabled

under the Plan when such person is prevented from performing the essential duties of the occupation.
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(AR at 643.) After 24 months, the test for disability becomes whether the claimant is prevented from

performing one or more of the essential duties of any occupation. (AR at 643.) In the event the

claimant is disabled by reason of mental illness, benefits are limited to a total of 24 months. (AR

at 634.)

       Patrick was born on March 19, 1949. She began working at Siemens on October 26, 1992,

and stopped working there on September 5, 2003. On February 13, 2004, Patrick completed an

application for long-term disability benefits. (AR at 563.) As part of her application, Patrick

submitted a letter by her treating physician, Dr. Norman Weber, along with an Attending Physician’s

Statement. Dr. Weber’s letter stated that Patrick “has Fibromyalgia Syndrome, a chronic disabling

problem that was diagnosed in 1997.” (AR at 372.) According to Dr. Weber, Patrick “has

experienced a progressive decline in her abilities to perform essential functions of daily living,” and

as a result, he considered “her disabled and unable to return to work, effective September 8, 2003.”

(AR at 572.) The Attending Physician’s Statement of Disability, completed by Dr. Weber on

January 29, 2004, listed her primary diagnosis as Fibromyalgia Syndrome and her secondary

diagnosis as Unipolar Depression. (AR at 605.) The statement notes that Patrick has subjective

symptoms of “burning in knees, hyposomnia, pain in hips, thighs, & calfs.” (AR at 605.) Dr. Weber

listed the physical examination findings as “normal spinal exam, no joint deformities . . . no tremors

or weakness.” (AR at 605.) Dr. Weber further noted that Patrick “exhibits slow gait & multiple

trigger points in the upper extremities, trunk, and lower extremities.” (AR at 605.) Dr. Weber stated

that Patrick had limited tolerance for standing, sitting, and walking, and that “essentially all typical

activities of daily living are limited to a significant degree.” (AR at 606.)




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       On May 13, 2004, Hartford approved Patrick’s claim for long term disability benefits

effective from March 6, 2004. (AR at 492.) Hartford informed Patrick that after 24 months, March

6, 2006, she would remain disabled only if she was prevented from performing the essential duties

of any occupation. (AR at 492.) The letter further informed Patrick that Hartford expected her to

pursue a claim for disability with the Social Security Administration and that any award would be

deducted from her monthly benefit pursuant to the Other Income provision of the Plan. (AR at 495.)

On June 24, 2004, Patrick was granted Social Security benefits based on “fibromyalgia and

depression.” (AR at 467.) The Administrative Law Judge (“ALJ”) found that Patrick’s claim of

intractable and debilitating pain was credible, that Patrick was unable to perform her past work, and

that “claimant does not have transferable skills to perform other work within her residual functional

capacity.” (AR at 468.) As a result of the award, Patrick refunded $4,438.40 to Hartford, and

Hartford reduced her monthly benefit to $768.70. (AR at 412.)

       On September 29, 2005, Hartford wrote Patrick and informed her that as of March 6, 2006,

she must be considered disabled under the Any Occupation provision of the plan to remain eligible

for benefits. (AR at 29.) On October 26, 2005, Dr. Weber completed Hartford’s required form

entitled Attending Physician’s Statement of Continuing Disability. (AR at 386.) Dr. Weber listed

Patrick’s primary diagnosis as Fibromyalgia Syndrome and her secondary diagnosis as Unipolar

Depression (Reactive). (AR at 386.) Dr. Weber noted that Patrick has a limited tolerance for

standing, walking, and carrying. (AR at 387.) For sitting, Dr. Weber stated that Patrick “needs to

change position frequently due to generalized discomfort.” (AR at 387.) On the Physical Capacities

Evaluation Form (“PCE”), Dr. Weber listed that Patrick is able to sit for one to two hours at a time

for a total of eight hours in a day and that she is only able to stand or walk less than one hour at a

time and for no more than an hour throughout the day. (AR at 388.)

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       On December 17, 2005, Hartford received an Employability Analysis Report based on Dr.

Weber’s most recent evaluation. The report noted that Dr. Weber limited Patrick’s capability for

sitting to one to two hours at a time up to eight hours in a day and for walking and standing to less

than one hour per day. (AR at 332.) Based on this information, the report concluded that Patrick

was capable of working two jobs that were prevalent in the national economy, met her functional

limitations, exceeded her required earnings potential, and were commensurate with her education

and experience: Information Clerk and Surveillance System Monitor. (AR at 332.)

       Because Dr. Weber listed Patrick as having a secondary diagnosis of depression, Hartford

sent Dr. Weber a Behavioral Function Evaluation Form, which Dr. Weber completed on March 27,

2006. The form asked Dr. Weber specific details regarding Patrick’s ability to work from a mental

health perspective only. (AR at 324.) Dr. Weber concluded that Patrick was unable to work and that

no modifications would permit her to work. (AR at 320.) Further, Dr. Weber noted that Patrick had

limited tolerance for prolonged sitting, limited memory recall, and was lethargic on a continuing

basis. (AR at 320.)

       On April 20, 2006, Hartford wrote Patrick informing her of its determination that Patrick was

not disabled under the Any Occupation provision of the Plan. Hartford stated that based upon the

Employability Analysis Report, and the PCE it relied upon, Patrick’s fibromyalgia did not prevent

her from working as an information clerk or a surveillance system monitor. (AR at 39.) However,

Hartford determined that Patrick continued to remain disabled due to an adjustment disorder. (AR

at 36.) Therefore, Hartford informed Patrick that it would continue to pay benefits, but only for an

additional twenty-four months – through March 6, 2008 – pursuant to the Plan’s mental illness

limitation. (AR at 36.)


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       Patrick appealed Hartford’s decision and supplemented her appeal with an additional letter

by Dr. Weber. In this letter, Dr. Weber stated that “Patrick’s disabling medical condition is

Fibromyalgia Syndrome, which is a physical condition, that has caused or aggravated other

conditions such as depression, which are often a by-product of this physical condition.” (AR at 177.)

The letter further noted that because of “Patrick’s medical diagnoses and disabilities, she is not

capable of performing any work or occupation for which she is, or may become, reasonably qualified

to perform by education, training or experience.” (AR at 176.)

       During the appeal process, Hartford sent Patrick’s file to Dr. Tracey Schmidt at Reed Review

Services for an independent review. Dr. Schmidt reviewed Patrick’s medical records and spoke with

Dr. Weber over the telephone. (AR at 146.) During this conversation, Dr. Weber stated that Patrick

was unable to return to work because of a “combination of pain, psychiatric issues and not wanting

to return to work.” (AR at 146.) When asked what evidence existed of Patrick’s inability to work

in a sedentary capacity, Dr. Weber responded, “subjective symptoms of pain. She has relatively little

findings on exam.” (AR at 146.) Dr. Schmidt’s report further summarized her conversation with

Dr. Weber:

       I asked him what had changed, which now supports her inability to return to work in
       a sedentary positions and he said pain and psych issues. I asked him to what degree
       somatization issues are impacting her physical condition and functioning and he
       reported “a part”. He did read a C-spine x-ray from October 2006 that showed some
       degenerative changes.1

(AR at 146.) Dr. Schmidt also noted that the “file mentions pain but lacks any notes from pain

management or behavioral therapy for pain management. The claimant reports back pain but the file

lacks any radiological imaging of the spine.” (AR at 147.) Dr. Schmidt repeatedly referenced Dr.


       1
           Somatization is the conversion of anxiety into physical symptoms.

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Weber’s PCE finding that Patrick was capable of sitting one to two hours at a time for no more than

eight hours in a day. (AR at 147.) Based on these findings, Dr. Schmidt concluded that the “file

lacks sufficient medical evidence of a physical functional capacity impairment to a full time

sedentary occupation. . . .” (AR at 149.)

         On February 23, 2007, Hartford informed Patrick that it denied her appeal. The letter stated

that “[p]hone discussions with Dr. Weber noted that Ms. Patrick had no interest in returning to work

and had somatization issues which were prominent. . . .” (AR at 50.) The letter further stated that

Dr. Weber “noted that somatization issues are playing a significant role in her physical conditioning

and functioning.”2 The letter recognized that Dr. Weber’s most recent correspondence expressing

his conclusion that Patrick was unable to work in any capacity appeared to conflict with his

functional capacity evaluation, from a year earlier, stating that Patrick could sit for up to eight hours

in a day. (AR at 50.) Hartford, however, noted that Dr. Weber did not provide a statement

addressing why the previous restrictions were no longer applicable. (AR at 50.) Additionally,

Hartford referenced Patrick’s ability to perform household chores and participate in water aerobics

on an occasional basis. (AR at 50.) Because of these factors and the lack of medical tests

substantiating work restrictions based on her physical condition, Hartford denied Patrick’s appeal.

(AR at 50.) Patrick filed suit in this Court seeking review of Hartford’s determination denying her

disability benefits.




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          As previously recounted, these characterizations of Dr. W eber’s statements are, at best, inaccurate. Dr. W eber
stated only that somatization issues played a “part” in her inability to work. Further, Dr. W eber said that Patrick was
unable to return to work because of a “combination of pain, psychiatric issues and not wanting to return to work.”

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                                             II. Analysis

                                         Standard of Review

        A threshold issue the Court must decide is the standard of review that applies to Hartford’s

decision to deny benefits. A plan administrator's denial of benefits under an ERISA plan is reviewed

de novo “unless the benefit plan gives the administrator or fiduciary discretionary authority to

determine eligibility for benefits or to construe the terms of the plan.” Firestone Tire & Rubber Co.

v. Bruch, 489 U.S. 101, 115, 109 S. Ct. 948, 956-57 (1989); see also Perez v. Aetna Life Ins. Co.,

150 F.3d 550, 555 (6th Cir. 1998). The de novo standard of review applies to both the factual

determinations and legal conclusions of the plan administrator. See Wilkins, 150 F.3d at 613.

        Where the plan clearly confers discretion upon the administrator to determine eligibility or

construe the plan’s provisions, the determination is reviewed under the “arbitrary and capricious”

standard. Wells v. United States Steel & Carnegie Pension Fund, Inc., 950 F.2d 1244, 1248 (6th Cir.

1991). While no particular language is necessary to vest the plan administrator with discretion to

interpret the plan or make benefit determinations, the Sixth Circuit “has consistently required that

a plan contain ‘a clear grant of discretion [to the administrator] to determine benefits or interpret the

plan.’” Perez, 150 F.3d at 555 (quoting Wulf v. Quantum Chem. Corp., 26 F.3d 1368, 1373 (6th Cir.

1993) (italics and alteration in original)). The Plan contains the following language: “We have full

discretion and authority to determine eligibility for benefits and to construe and interpret all terms

and provisions of the Group Insurance Policy.” (AR at 642.) Patrick concedes that this language

is a clear grant of discretion to Hartford to make benefit eligibility determinations, and the Court

concludes that this language is sufficient under the law to support application of the arbitrary and

capricious standard to Hartford’s decision.


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        Under the arbitrary and capricious standard, courts “will uphold the administrator’s decision

‘if it is the result of a deliberate, principled reasoning process and if it is supported by substantial

evidence.’” Glenn v. Metlife, 461 F.3d 660, 666 (6th Cir. 2006), cert. granted, --- U.S. ---, 06-923

(Jan. 18, 2008) (quoting Baker v. United Mine Workers of Am. Health & Ret. Funds, 929 F.2d 1140,

1144 (6th Cir. 1991). However, the standard “is no mere formality,” id., and does not require courts

“merely to rubber stamp the administrator’s decision,” id. (quoting Jones v. Metro. Life Ins. Co., 385

F.3d 654, 661 (6th Cir. 2004)). Rather, courts “are required to review ‘the quality and quantity of

the medical evidence and the opinions on both sides of the issues.’” Id. (quoting McDonald v.

Western-Southern Life Ins. Co., 347 F.3d 161, 172 (6th Cir. 2003)).

        At issue in the present case is whether Hartford acted arbitrarily and capriciously in

determining that Patrick’s fibromyalgia, standing alone, did not render her disabled. Because

Hartford does not contest the diagnosis itself, only whether the condition renders her disabled under

the Any Occupation provision of the Plan, the Court’s determination hinges on the extent Patrick’s

fibromyalgia affects her functional capacity. There are several factors that impact the Court’s

analysis of Patrick’s claim. The first is the conflict that exists when the entity authorized to decide

whether an employee is eligible for benefits is the same entity that pays those benefits. Glenn, 461

F.3d at 666. The existence of this possible conflict of interest “should be taken into account as a

factor in determining whether [Hartford’s] decision was arbitrary and capricious.” Calvert v. Firstar

Fin., Inc., 409 F.3d 286, 292 (6th Cir. 2005) (quoting Univ. Hosps. of Cleveland v. Emerson Elec.

Co., 202 F.3d 839, 846 n. 4 (6th Cir. 2000)). While this does not change the standard of review, it

is a factor in applying that standard. Id. at 293.




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       This Court must also give consideration to the fact that the Social Security Administration

found her disabled based on both her fibromyalgia and depression. Specifically, the ALJ found that

Patrick’s “allegations of intractable and debilitating multiple joint pain and a disabling depression

are credible.” (AR at 467.) Moreover, the ALJ determined that Patrick’s “impairments prevent her

from sitting, standing, or walking for prolonged periods or concentrating upon tasks.” (AR at 468.)

Thus, the ALJ concluded that “[b]ased upon [Patrick’s] residual functional capacity and vocational

factors, jobs which she is capable of performing do not exist in significant numbers in the national

economy.” (AR at 468.) Additionally, Hartford was aware that Patrick was awarded Social Security

benefits since it demanded – and received – re-payment from her and adjusted her monthly benefit

accordingly.

       Thus, “[h]aving benefitted financially from the government’s determination that [Patrick]

was totally disabled, [Hartford] obviously should have given appropriate weight to that

determination.” Glenn, 461 F.3d at 669. In contrast, Hartford never discussed the Social Security

decision in its initial determination or on appeal. Admittedly, the Social Security decision is not

completely relevant because much of that decision discusses Patrick’s disability from a mental health

perspective, a conclusion Hartford does not contest and for which it is paying benefits. However,

this alone does not warrant ignoring the decision because certain findings of the ALJ are relevant to

Patrick’s claims of functional incapacity based on fibromyalgia alone. Specifically, the ALJ found

Patrick’s allegations of debilitating multiple joint pain to be credible and that her impairment

prevents her from sitting for prolonged periods of time. (AR at 467-68.) In light of this, Hartford’s

failure “to consider the Social Security Administration’s finding of disability in reaching its own




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determination of disability does not render the decision arbitrary per se, but it is obviously a

significant factor to be considered upon review.” Id. (emphasis in original).

                               Hartford’s Initial Denial of Benefits

       Hartford’s initial denial of benefits was not arbitrary and capricious because it was supported

by substantial evidence, namely Dr. Weber’s own conclusions. Hartford denied Patrick benefits

based on fibromyalgia because it determined that her condition did not restrict her functional

capacity to the point that she was prevented from working a sedentary job. Specifically, Hartford

relied on Dr. Weber’s Attending Physician’s Statement and accompanying PCE completed on

October 26, 2005. With regard to her physical limitations, Dr. Weber noted that Patrick “cannot

complete most household tasks.” Regarding her ability to sit, Dr. Weber stated that Patrick “[n]eeds

to change position frequently due to generalized discomfort.” Dr. Weber also listed her psychiatric

impairment as “major,” meaning that she has avoidant behavior, neglects family, and is unable to

work. However, on the PCE, Dr. Weber found that Patrick was able to sit for one to two hours at

a time up to eight hours in a day.

       In light of this evidence, it was reasonable for Hartford to conclude that Patrick was unable

to work due to her major psychiatric impairment but that her fibromyalgia only restricted her to the

extent detailed in Dr. Weber’s PCE. Although the PCE stated that Patrick needs to change positions

frequently while sitting and that Patrick needs assistance with household tasks, it was not

unreasonable for Hartford to conclude that the PCE reflected this limitation in finding her able to sit

for one to two hours at a time up to eight hours in a day. The Employability Analysis Report,

prepared based on these restrictions, found two sedentary employment opportunities that were




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commensurate with her education and work experience. Therefore, Hartford concluded that her

fibromyalgia did not render her disabled under the Any Occupation provision of the Plan.

       Patrick contends that Hartford simply changed its earlier determination finding her disabled

without any evidentiary basis. However, Hartford’s earlier determination that Patrick’s fibromyalgia

rendered her disabled was based on her inability to perform her own, non-sedentary position. When

the analysis changed to the Any Occupation provision of the Plan, Hartford properly relied on Dr.

Weber’s PCE in finding Patrick capable of working a sedentary position. Because this determination

was based on Dr. Weber’s own uncontradicted conclusions, Hartford’s denial of benefits was based

on substantial evidence and was not arbitrary and capricious.

                             Hartford’s Denial of Benefits on Appeal

       Hartford’s decision on appeal to deny benefits is different. After Hartford denied Patrick

benefits based on her fibromyalgia on October 17, 2006, Patrick sent Hartford an updated

Physician’s Statement of Disability prepared by Dr. Weber. (AR at 175.) Of particular note, the

statement re-emphasized some of Dr. Weber’s previous statements that Patrick “requires daily naps

every afternoon in order to regain some strength.” (AR at 175.) Additionally, the letter notes that

Patrick “continues to rely on her significant other to assist with several household tasks that she

cannot manage on her own.” (AR at 176.) Most importantly, Dr. Weber stated that “Patrick’s

disabling medical condition is Fibromyalgia Syndrome” and that due to her disability, she is “totally

and permanently disabled from any and all employment at this time.” (AR at 175-76.) Although

Hartford recognized that this statement conflicted with and repudiated Dr. Weber’s prior PCE,

Hartford did not credit Dr. Weber’s conclusions because they were not supported by objective




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evidence or an updated PCE. (AR at 50.) Supporting Hartford’s determination was the report of the

independent reviewer finding that Dr. Weber’s conclusions were not supported by medical evidence.

       Hartford’s determination does not withstand scrutiny in several respects. First is Hartford’s

justification for not crediting Dr. Weber’s most recent conclusion that Patrick was completely

disabled because the file lacked objective medical evidence supporting her disability. Courts have

often grappled with the role of objective evidence in fibromyalgia cases. Although the United States

Court of Appeals for the Sixth Circuit has not decided when and in what context an ERISA

administrator can rely on a lack of objective evidence in denying a claim, decisions from several

other circuits help the analysis. A plan administrator may not deny a claim based on a lack of

objective evidence supporting a doctor’s diagnosis of fibromyalgia because it is not a condition

verifiable by objective evidence. Hawkins v. First Union Corp. Long-Term Disability Plan, 326

F.3d 914, 919 (7th Cir. 2003). “A distinction exists however, between the amount of fatigue or pain

an individual experiences, which as Hawkins notes is entirely subjective, and how much an

individual’s degree of pain or fatigue limits his functional capacities, which can be objectively

measured.” Williams v. Aetna Life Ins. Co., --- F.3d ---, 2007 WL 3230408, at *5 (7th Cir. Nov. 1,

2007). Thus, a plan administrator does not act arbitrarily and capriciously in denying a claim for

benefits when the claimant fails to provide objective evidence supporting her functional limitations.

Id.; see Boardman v. Prudential Ins. Co. of Am., 337 F.3d 9, 16 n. 5 (1st Cir. 2003); see also

Pralutsky v. Metro. Life Ins. Co., 435 F.3d 833 (8th Cir. 2006).

       The cases cited in the preceding paragraph have one thing in common: the administrator

either requested objective evidence supporting the doctors’ conclusions or the initial denial letter

highlighted the administrator’s concern in this regard. Williams, 2007 WL 3230408, at *5 (“The


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administrator clearly explained this concern in both its denial letters to [claimant].); Pralutsky, 435

F.3d at 840 (“MetLife specifically identified and requested additional clinical evidence supporting

the severity of [claimant’s] condition.”). Additionally, the only Sixth Circuit case allowing a plan

administrator to disregard a doctor’s conclusion of disability based on lack of objective evidence did

so because the plan required objective evidence. Boone v. Liberty Life Assur. Co. of Boston, 161

F.App’x 469, 473 (6th Cir. 2005). In the present case, the Plan did not require objective evidence

and Hartford never requested additional objective evidence. Instead, Hartford rejected Dr. Weber’s

most recent statement because he did not provide a new PCE; yet, it never requested a new PCE or

gave any indication that it desired one. Moreover, Hartford continued to rely on one of Dr. Weber’s

previous PCEs while noting at the same time that Dr. Weber’s most recent statement appears to

contradict that PCE. This selective reliance on Dr. Weber’s opinions and reports does not make

sense if Hartford was being objective. See Glenn, 461 F.3d at 674. While the Court recognizes that

Hartford did not have to accord special deference to Dr. Weber as Patrick’s treating physician,

neither could it “arbitrarily repudiate or refuse to consider [his] opinions. . . .” Id. at 671.

        In addition, Hartford’s file review of Patrick’s claim was not objective. Although the file

review is only one factor to consider under the arbitrary and capricious standard of review, Calvert,

409 F.3d at 295, the Court notes that Hartford discredited Dr. Weber’s conclusions based solely on

a lack of objective evidence (for which it never asked) when it had the option to examine Patrick and

obtain its own functional capacity evaluation. If Hartford believed that Patrick was able to work

despite her fibromyalgia and reports of debilitating pain, it could have ordered its own examination

instead of relying on one statement in a previous PCE by the very same doctor whose current opinion

it was discrediting. By not asking Dr. Weber to supply an updated PCE and not ordering its own


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examination, Hartford acted arbitrarily and capriciously in denying Patrick’s claim based on a file

reviewer’s conclusion that there was insufficient medical evidence supporting Patrick’s inability to

work.

        Furthermore, there were many factual inconsistencies throughout Hartford’s determination.

First, Hartford described Dr. Weber as stating that Patrick “had somatization issues which were

prominent” and “that somatization issues are playing a significant role in her physical conditioning

and functioning.” (AR at 50.) In fact, Dr. Schmidt’s report said that Dr. Weber reported

somatization issues playing only “a part.” (AR at 146.) Moreover, Hartford claimed that there was

no evidence supporting Dr. Weber’s conclusions that his prior restrictions were no longer applicable.

However, Dr. Schmidt noted in her report that Dr. Weber “did read a C-spine x-ray from October

2006 that showed some degenerative change.” (AR at 146.) Finally, Hartford relied on Patrick’s

“reports of doing the laundry, vacuuming, cleaning, making meals, shopping for groceries, and

swimming three times per week.” (AR at 50.) Most of this is based on medical records from

November 2005. (AR at 143.) However, this ignores a subsequent entry – the paragraph

immediately above the November 2005 entry – that Patrick is “[u]nable to carry laundry any more.

It takes her a week to clean the house now. She can only do physical tasks 30 minutes.” (AR at

143.) Additionally, it ignores Dr. Weber’s Attending Physician’s Statement that “she cannot

complete most household tasks and needs the assistance of her boyfriend.” (AR at 387.) Such a

selective reference to the medical records is arbitrary and capricious.

        In sum, the only evidence supporting Hartford’s determination that Patrick was able to work

in a sedentary capacity was Dr. Weber’s PCE stating that Patrick could sit for one to two hours at

a time up to eight hours in a day. However, Dr. Weber concluded otherwise in his most recent


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correspondence attesting that Patrick was completely and totally disabled based on her fibromyalgia.

Although Dr. Weber did not provide an updated PCE describing what her functional limitations

were, Hartford neither requested one nor gave any indication that it was considering ignoring Dr.

Weber’s conclusions based on the absence of an updated PCE. By not crediting one of Dr. Weber’s

opinions while relying on another, Hartford engaged in a selective interpretation of the medical

record unsubstantiated by the independent file review. Finally, the factual inconsistencies in

Hartford’s denial letter, Hartford’s conflict of interest, and Hartford’s omission of the Social Security

decision in its decision all reinforce the Court’s conclusion that Hartford’s decision on appeal was

not based on substantial evidence and was arbitrary and capricious.

                                           III. Conclusion

        For the reasons set forth above, the Court will grant judgment on the administrative record

in Patrick’s favor and reverse Hartford’s denial of disability benefits based on her fibromyalgia.

        A separate Order will issue.




Dated: March 4, 2008                                          /s/ Gordon J. Quist
                                                             GORDON J. QUIST
                                                        UNITED STATES DISTRICT JUDGE




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